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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

              Plaintiff,

 v.

 1.    MICHAEL AARON TEW,

              Defendant.


        UNITED STATES’ MOTION FOR PRELIMINARY ORDER OF
      FORFEITURE FOR A PERSONAL MONEY JUDGMENT AGAINST
                 DEFENDANT MICHAEL AARON TEW



       The United States of America, (“the United States”) by and through Acting

 United States Attorney Matthew T. Kirsch and Assistant United States Attorney

 Laura B. Hurd, pursuant to 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461(c), and Rule

 32.2(b)(2) of the Federal Rules of Criminal Procedure, respectfully requests that this

 Court to enter before sentencing Preliminary Order of Forfeiture for a Personal

 Money Judgment in the amount of $5,023,878.50 against defendant Michael Aaron

 Tew, which constitutes proceeds obtained by the defendant as a result of violations

 of 18 U.S.C. §§ 1343, 2, and 1349.

       In support, the United States sets forth the following:

 A.    Background

       1.     On February 3, 2021, an Indictment was filed charging defendant

 Michael Aaron Tew with the following: in Count 1 with a violation of 18 U.S.C. §

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 1349 (conspiracy to commit wire fraud); in Counts 2 through 40 with violation of 18

 U.S.C. §§ 1343 and 2 (wire fraud and aiding and abetting); in Count 41 with a

 violation of 18 U.S.C. § 1956(h) (conspiracy to commit money laundering); in Counts

 42, 44 through 56 with violations of 18 U.S.C. § 1957 (money laundering –

 spending), and in Counts 57 through 60 with violations of 26 U.S.C. § 7203

 (willfully failing to file income tax return). ECF Doc. # 83, p. 1-23.

       2.     The Indictment also sought forfeiture, pursuant to 18 U.S.C. §

 981(a)(1)(C) and 28 U.S.C. § 2461(c), of any and all of the defendant’s right, title,

 and interest in all property constituting and derived from any proceeds the

 defendant obtained directly and indirectly as a result of the violations set forth in

 Counts 1 through 40, including but not limited to, a money judgment in the amount

 of proceeds obtained by the scheme and the defendants. In addition, the Indictment

 sought forfeiture, pursuant to 18 U.S.C. § 982(a)(1)1, for all property involved in the

 violations set forth in Counts 41 through 56 or all property traceable to such

 property. Id.

       3.     On February 15, 2024, defendant Michael Aaron Tew was found guilty

 of Counts 1 through 42 and 44 through 60. ECF Doc. # 448.



 1 Title 18, United States Code, Section 982(a)(1), states that upon conviction of

 violations of 18 U.S.C. §§ 1956 or 1957, the Court “shall order that person forfeit to
 the United States any property, real or personal, involved in such offense, or any
 property traceable to such property.” Defendant Michael Aaron Tew was convicted
 of conspiracy to commit money laundering and substantive counts. Because the
 laundered funds involved the proceeds obtained through Counts 1 through 40, the
 government is only seeking forfeiture of the total amount of proceeds obtained
 through the wire fraud conspiracy.


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       4.     The government presented facts at trial which established a nexus

 between the criminal conduct for which the defendant was found guilty and the

 $5,023,878.50, which represents the proceeds obtained by the Tews through the

 wire fraud conspiracy and substantive counts. See EX 1002-1003.

 B.    Argument

       Pursuant to 18 U.S.C. § 981(a)(1)(C)2, the Court shall order forfeiture of all

 property real or personal, constituting or derived from proceeds traceable to a

 “specified unlawful activity” as defined in 18 U.S.C. § 1956(c)(7), or a conspiracy to

 commit such offense. Title 18, United States Code, Section 1956(c)(7) includes any

 offense listed in 18 U.S.C. § 1961(1) as a “specified unlawful activity.” Wire fraud in

 violation of 18 U.S.C. § 1343 is listed in 18 U.S.C. § 1961. Conspiracy to commit

 wire fraud is set forth in 18 U.S.C. § 1349.

       Proceeds are defined in 18 U.S.C. § 981(a)(2), which states that “proceeds”

 are “property of any kind obtained directly or indirectly, as the result of the

 commission of the offense giving rise to forfeiture, and any property traceable

 thereto, and is not limited to the net gain or profit realized from the offense.”

       The government may seek a money judgment against a defendant for the

 value of what they obtained from the criminal activity.” United States v. Channon,

 973 F.3d 1105, 1112 (10th Cir. 2020) (quotation marks and citation omitted); United

 States v. Venturella, 585 F.3d 1013, 1017 (7th Cir. 2009). This includes proceeds




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  Title 28, United States Code, Section 2461(c) provides for the criminal forfeiture of
 any property that may be forfeited civilly.

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 from the wire fraud scheme and proceeds obtained from the conspiracy the

 defendant benefitted from.

        When two co-conspirators jointly obtain and jointly enjoy the fruits from their

 conspiracy, they are liable for the full amount of that conspiracy. See Channon, 973

 F.3d at 1115 n.8 (citing United States v. Tanner, 942 F.3d 60, 67-68 (2d Cir. 2019));

 United States v. Dotson, 635 F. Supp. 3d 1326, 1333 (M.D. Fla. 2022) (“Mr. and Mrs.

 Dotson both benefited personally from the fraud” because they co-owned the stores

 that received the profits from the fraudulent transactions); United States v.

 Bikundi, 926 F.3d 761 (D.C. Cir. 2019) (defendants jointly obtained conspiracy

 proceeds because both were integrally involved in fraud scheme and treated

 property as joint property). This is because each of them is responsible for the

 conduct, acquisition, and use of the conspiracy proceeds. This is especially true

 when the codefendants are married and share finances and expenses. See United

 States v. Carlyle, 776 F. App'x 565, 571 (11th Cir. 2019) (a married couple were

 both liable for the full amount of the fraud proceeds because “it is reasonable to

 infer from the evidence in the record that [the defendant] possessed and enjoyed the

 fruits of her own efforts.”).

        Pursuant to Fed. R. Crim. P. 32.2(b)(1)(A), the Court must determine what

 property is subject to forfeiture as soon as practicable after a finding of guilt. When

 a personal money judgment is sought, “the court must determine the amount of

 money the defendant will be ordered to pay.” Fed. R. Crim. P. 32.2(b)(1)(A). As set

 forth in Fed. R. Crim. P. 32.2(b)(1)(B), the Court “determination may be based on



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 evidence already in the record . . . and on any additional evidence or information

 submitted by the parties and accepted by the court as relevant and reliable.” When

 considering the evidence, the Court need only find that a preponderance of the

 evidence supports forfeiture. United States v. Gordon, 710 F.3d 1124, 1165 (10th

 Cir. 2013) (“A forfeiture judgment must be supported by a preponderance of the

 evidence.” (quoting United States v. Bader, 678 F.3d858, 893 (10th Cir. 2012)).

       Once the property is determined to be subject to forfeiture, the Court “must

 promptly enter a preliminary order of forfeiture setting forth the amount of any

 money judgment.” Fed. R. Crim. P. 32.2(b)(2)(A). It is mandatory that the

 Preliminary Order of Forfeiture is entered “sufficiently in advance of sentencing to

 allow the parties to suggest revisions or modifications before the order becomes

 final as to the defendant.” Fed. R. Crim. P. 32.2(b)(2)(B).

       As set forth in the government’s sentencing statement, the evidence at trial

 established that from August 2018 to July 2020, Michael Tew, Kimberly Tew, and

 Jonathan Yioulos engaged in a scheme to defraud a Florida-based company, N.A.C.,

 Inc. (“the Victim Company”). As part of the conspiracy and scheme to defraud,

 fraudulent invoices were submitted to the Victim Company for services that were

 never rendered. ECF Doc. #458, p. 3 (citing Testimony of Jonathan Yioulos; GX

 1002, 1003, and 1008). At times, Michael and Kimberley Tew used various entities

 and identities in order to submit the invoices and to receive payment. After the

 fraudulent invoices were paid, Michael and Kimberley Tew engaged in multiple

 financial transactions through financial institutions in amounts greater than



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 $10,000 from money they knew to be the proceeds of wire fraud. Id. (citing GX

 1009-1023).

       Between August 2018 and July 2020, as a result of the conspiracy to commit

 wire fraud, the Victim Company paid $5,023,878.50 either directly to the Michael

 and Kimberley Tew or to third parties recruited by them. Id. at p. 12, 24 (citing GX

 1002-1003). The fraud was perpetrated to pay outstanding and ongoing debts

 incurred by Kimberley Tew’s gambling, to cover the redemptions of “investors” who

 were victims of a separate cryptocurrency scheme, and to finance a lavish lifestyle

 that included a luxury apartment in Cherry Creek, designer clothes, expensive food,

 and Las Vegas junkets. Id. at 12-13.

       Michael and Kimberley Tew maintained multiple bank accounts at multiple

 financial institutions; some they held in their individual names, and others were

 joint accounts. Id. at p. 22 (citing GX 1001). After withdrawing cash from the

 proceeds of the fraud, Michael and Kimberley Tew often deposited the aggregated

 amount of cash from that day or over a few days into cryptocurrency ATMs, where

 they were able to deposit United States dollars in exchange for bitcoin, either held

 in their own wallets or sent to third parties, many of whom were owed money. All

 told, the Tews deposited approximately $2,429,181 into just one company’s

 cryptocurrency ATMs during the conspiracy. Id. at p. 23 (citing ECF No. 341-1, Log

 Entry # 176, 179, 189, 192, 193, 348, 351, 348, 351, 356).




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       In total, the Victim Company paid $5,023,878.50 to the various entities for

 Michael and Kimberley Tew’s benefit or directly to bank accounts controlled or

 operated by Michael Tew and Kimberley Tew. Id. at p. 23-24; GX 1002-1003.

       Michael and Kimberly Tew were equally culpable in the conspiracy that

 obtained $5,023,878.50 from the Victim Company for their benefit. Based on their

 joint conduct, joint use of the proceeds, and joint responsibility related to the wire

 fraud conspiracy, the government seeks a forfeiture money judgment against

 defendant Michael Tew in the amount of $5,023,878.50. The government will credit

 any payments made toward the money judgment so that it will not collect more

 than the $5,023,878.50.

       In addition, the government intends to recommend to the Attorney General

 that any net proceeds derived from the sale of the judicially forfeited assets be

 remitted or restored to the eligible victim of the offenses, for which the defendant

 has been found guilty, pursuant to 18 U.S.C. § 981(e), 28 C.F.R. pt. 9, and any other

 applicable laws, if the legal requirements for recommendation are met.

       Conclusion

       Accordingly, the United States respectfully requests that the Court enter the

 Preliminary Order of Forfeiture for a Personal Money Judgment in the amount of

 $5,023,878.50 against defendant Michael Tew pursuant to 18 U.S.C. § 981(a)(1)(C)

 and 28 U.S.C. § 2461(c).




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       DATED this 24th day of October 2024.


                                                Respectfully submitted,

                                                MATTHEW KIRSCH
                                                Acting United States Attorney

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 I hereby certify that the foregoing pleading complies with the type-volume

 limitation set forth in Judge Domenico’s Practice Standard III(A)(1).


                            CERTIFICATE OF SERVICE

        I hereby certify that on this 24th day of October 2024, I electronically filed the
 foregoing with the Clerk of Court using the ECF system which will send notice to all
 counsel of record.


                                                s/ Sheri Gidan
                                                FSA Federal Paralegal
                                                Office of the U.S. Attorney




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